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December 22, 2019

LETTER TO COURT

Via Hand Delivery to Court Clerk

Hon. Madeleine Cox Arleo, US DJ
United States District Court for the District of New Jersey
Martin Luther King Jr. federal courthouse, 50 Walnut St.

Newark, NJ 07102

re- NVE Inc. versus Palmeroni

civil action number 06 — 5455 (MCA) (DW)

Dear Hon. Judge Arleo

as per your orders on December 5, 2019 all in limine motions have to be filed by December 23, 2019. I’m
requesting an extension and I'll explain my reasons. Approximately 2 % to 3 months ago my autistic
younger brother, who I’m legal guardian to, was experiencing back pain in the small of his back and

down through his legs. He went to his primary doctor and they had him do physical therapy for a month.
He complained that nothing changed the prescribed Tylenol, heating pads, and lubricants like icy hot to
help with the pain, with the understanding that in two weeks x-rays and CAT scans will be done. It never
got that far because after week he went to the emergency room and after an x-ray and CAT scans a huge
mass in his lungs was discovered and there were also images in his liver they didn’t like. A biopsy was
done on his lung in early December. A few days later | went to check on him and found him completely
incoherent, so | immediately called 911, and after more x-rays and CAT scans it was determined that my
brother has terminal lung cancer. The only option is to transfer immediately to the Smiler Cancer Ctr.,
New Haven, CT and start chemotherapy treatments consisting of three treatments a week and then
another three weeks, repeat. After two or three treatments we will reevaluate to see if the treatments
are working. If they are we will continue until hopefully the cancer goes into remission. If not | am told
he only has months to live. If the chemotherapy works he will have a decent quality of life but the
doctors cannot tell me how long or how decent his quality of life will be.
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Now i would like to explain how this affects me personally, as far as having to meet the deadlines the
court has imposed on me in the litigation before this court. | am the legal guardian of my autistic brother
he’s on title 19 and Medicare since 15 years old | am the one who will be taking care of everything from
taking them to the doctors, taking him to his chemo appointments, keeping up his morale, feeding him
and basically trying to give him some quality of life. At first it’s going to be hard but once we get into a
routine I’m hoping everything falls into line. Having to participate with these court proceedings during
the holiday season and dealing with my brothers situation all at the same time is totally overwhelming. |
need some time to get a handle.on all of this that’s why I’m asking for the leniency of the court for one
month extension. My brother’s name is Anthony Rosarbo and is currently at Yale New Haven Hospital

Respectfully submitted,

Vincent Rosarbo
